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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

 UNITED STATES OF AMERICA,

       Plaintiff,
 v.                                                    Case No. 8:21-cv-

 ALL FUNDS PREVIOUSLY SEIZED
 FROM BINANCE HOLDINGS LIMITED
 ACCOUNT BEARING USER ID 39177039,
 AND ASSOCIATED WITH THE EMAIL
 ADDRESS TANYAGLUSHKO99@GMAIL.COM,

       Defendant.

              VERIFIED COMPLAINT FOR FORFEITURE IN REM

       In accordance with Rule G(2) of the Supplemental Rules for Admiralty or

 Maritime Claims and Asset Forfeiture Actions, Plaintiff United States of America

 brings this complaint and alleges upon information and belief as follows:

                             NATURE OF THE ACTION

       1.     This is a civil action in rem, to forfeit to the United States of America,

 all funds previously seized from Binance Holdings Limited account bearing User ID

 39177039, and associated with the email address tanyaglushko99@gmail.com (the

 Defendant Property).

                           VENUE AND JURISDICTION

       2.     Venue properly lies in the Middle District of Florida pursuant to 28

 U.S.C. § 1395, because pertinent acts giving rise to the forfeiture action occurred in

 the Middle District of Florida.
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        3.     The Court has subject matter jurisdiction over this action pursuant to 28

 U.S.C. § 1345, which provides the Court with jurisdiction over all civil actions

 commenced by the United States, and pursuant to 28 U.S.C. § 1355, which provides

 the Court with jurisdiction over actions to recover or enforce forfeitures.

        4.     This Court has in rem jurisdiction over the Defendant Property because

 pertinent acts giving rise to the forfeiture occurred in the Middle District of Florida.

 28 U.S.C. § 1355(b)(1)(A).

        5.     Because the Defendant Property is in the government’s possession,

 custody, and control, the United States requests that the Clerk of Court issue an

 arrest warrant in rem, upon the filing of the complaint, pursuant to Supplemental

 Rule G(3)(b)(1). The United States will then execute the warrant on the property

 pursuant to 28 U.S.C. § 1355(d) and Supplemental Rule G(3)(c).

                      STATUTORY BASIS FOR FORFEITURE

        6.     The Defendant Property represents proceeds obtained, directly or

 indirectly, as a result of violations of 18 U.S.C. § 1030, and is, therefore, subject to

 civil forfeiture by the United States pursuant to 18 U.S.C. § 981(a)(1)(C). Section

 981(a)(1)(C) provides for the civil forfeiture of any property which constitutes or is

 derived from proceeds from a violation of, among others, 18 U.S.C. § 1030.

        7.     Additionally, the Defendant Property constitutes property involved in

 transactions or attempted transactions in violation of 18 U.S.C. § 1956, or are

 traceable to such property and is, therefore, subject to civil forfeiture pursuant to 18

 U.S.C. § 981(a)(1)(A).
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       8.      As required by Supplemental Rule G(2)(f), the facts set forth herein

 support a reasonable believe that the government will be able to meet its burden of

 proof at trial. Specifically, they support a reasonable believe that the government

 will be able to show by a preponderance of the evidence that the Defendant Property

 is proceeds of violations of 18 U.S.C. § 1030, and property involved in money

 laundering.

       9.      The specific facts supporting the forfeiture of the Defendant Property

 have been provided by Daniel M. Sirmons, Special Agent of the Federal Bureau of

 Investigation (FBI).

                                         FACTS

       10.     Daniel M. Sirmons has been employed as a Special Agent with the FBI

 since February 1995. He is currently assigned to the FBI Field Office in Tampa,

 Florida. He earned a Bachelor of Science in Electrical Engineering from the

 University of South Florida in 1988. He as attended over 500 hours of training in

 various aspects of criminal investigations and cyber-related technical training. In his

 capacity as an FBI Special Agent, he has conducted investigations into both criminal

 and national security matters, focusing on violent crime, narcotics, counterterrorism,

 counterintelligence, computer intrusions, and cybercrimes to include those involving

 cryptocurrency to facilitate wire fraud, computer fraud, mail fraud, and money

 laundering. He has also assisted in the execution of numerous search warrants,

 resulting in the seizure of paper, electronic, and other forms of evidence.



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       11.      SA Sirmons has received significant training on how people use

 computers to commit crimes and the law enforcement techniques that can be utilized

 to investigate and disrupt such activity. He has also been involved in, among other

 things, online and in-person undercover operations, as well as controlled drug

 deliveries and transactions. Moreover, in the course of his investigations and other

 cases on which he has worked, he has gained experience executing search warrants

 for physical premises, as well as for electronic evidence, such as the content and

 other data associated with email, messenger, financial, and digital-marketplace

 accounts operating on both the traditional Internet and the dark web.

       12.      The information SA Sirmons has provided is based upon his personal

 knowledge, his review of documents and other evidence, his conversations with

 other law enforcement personnel, and his training and experience concerning the use

 of computers in criminal activity and the forensic analysis of electronically stored

 information.

                    BACKGROUND ON CRYPTOCURRENCIES
                        AND TRANSACTION ANALYSIS

       13.      Bitcoin1 is a type of virtual currency, circulated over the Internet.

 Bitcoin are not issued by any government, bank, or company, but rather are




 1
  Since Bitcoin is both a currency and a protocol, capitalization differs. Accepted
 practice is to use “Bitcoin” (singular with an uppercase letter B) to label the protocol,
 software, and community, and “bitcoin” (with a lowercase letter b) to label units of
 the currency. That practice is adopted here.
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 controlled through computer software operating via a decentralized, peer-to-peer

 network.

       14.    Bitcoin can be exchanged directly, person to person, through a

 cryptocurrency exchange, or through other intermediaries. Bitcoin are sent and

 received from Bitcoin “addresses.” A Bitcoin address is somewhat analogous to a

 bank account number and is represented as a 26-to-35-character-long case-sensitive

 string of letters and numbers. Each Bitcoin address is controlled through the use of a

 unique corresponding private key. This key is the cryptographic equivalent of a

 password, or pin, and is necessary to access the Bitcoin address. Only the holder of

 an address’s private key can authorize any transfers of bitcoin from that address to

 other Bitcoin addresses. The individual or entity who holds the private key for a

 Bitcoin address is therefore considered the “owner” of the address. Users can operate

 multiple Bitcoin addresses at any given time and may use a unique Bitcoin address

 for each and every transaction. Users often combine multiple Bitcoin addresses (and

 their corresponding private keys) in a single logical unit known as a Bitcoin “wallet.”

       15.    Although cryptocurrencies such as Bitcoin have legitimate uses,

 cryptocurrency is often used by individuals and organizations for criminal purposes,

 such as money laundering. By maintaining multiple wallets, those who use

 cryptocurrency for illicit purposes can attempt to thwart law enforcement’s efforts to

 track proceeds of illicit activities. Although it’s not completely anonymous, Bitcoin

 allows users to transfer funds more anonymously than would be possible through

 traditional banking and financial systems.

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       16.    While a Bitcoin address itself does not generally reveal the address’s

 owner (unless the owner opts to make information about the owner’s Bitcoin address

 publicly available), the Bitcoin blockchain is an open, distributed ledger that records

 transactions of bitcoin between two addresses efficiently and in a verifiable and

 permanent way. Investigators can sometimes use the blockchain to identify the

 owner of a particular Bitcoin address or identify Bitcoin addresses that likely all

 belong to the same owner. For example, because the blockchain serves as a

 searchable public ledger of every Bitcoin transaction, investigators can trace

 transactions to other Bitcoin addresses, including Bitcoin exchanges and Bitcoin

 payment processors.

       17.    Investigators may cluster Bitcoin addresses believed to be held by the

 same owner for the purposes of blockchain analysis into a single “merge wallet.”

 Two ways that analysts determine that multiple addresses are likely under the control

 of the same owner are called “co-spending” and “change address analysis.” “Co-

 spending” is when a number of Bitcoin addresses are all used to send bitcoin in a

 single transaction. This indicates that a single owner holds the private keys for all

 those addresses. “Change address analysis” identifies addresses operating as “change

 addresses” for a particular account owner. Each bitcoin transaction requires that all

 the bitcoin at a given address be sent to new addresses. If the owner of the bitcoin

 wants to spend less than the complete amount of bitcoin held at one of their

 addresses, they send the excess bitcoin to a new address for which they also hold the



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 private key, called a “change address.” Change addresses are therefore likely held by

 the same owner as the original Bitcoin address.

       18.    Bitcoin is just one of many varieties of virtual currency. TetherUS, also

 referred to as Tether, is a cryptocurrency purportedly backed by the United States

 dollars. Tether was originally designed to always be worth $1, and the company

 responsible for issuing Tether purportedly maintained $1 in reserves for each Tether

 issued.

                          BACKGROUND ON BINANCE

       19.    Binance Holdings Limited (“Binance”), which is registered in the

 Cayman Islands, owns and operates Binance.com, a cryptocurrency exchange that

 provides a platform for trading various cryptocurrencies and exchanging

 cryptocurrencies for fiat currencies. Binance is one of the largest cryptocurrency

 exchanges in the world in terms of trading volume. Among other services, Binance

 provides customers with “custodial wallets,” meaning that Binance maintains the

 private keys relating to the customer’s cryptocurrency and therefore has complete

 control over client funds. Binance offers its services to customers around the world,

 including the United States.

       20.    Customers use exchanges like Binance to trade one form of digital

 currency for another, such as exchanging bitcoin for Tether, or to exchange digital

 currency into fiat money. In my training, knowledge, and experience, ransomware




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 attackers frequently use cryptocurrency exchanges such as Binance to launder or

 obfuscate their illicit gains.

                           SUMMARY OF INVESTIGATION

        21.    Ransomware is a type of malware that compromises a victim’s

 computer network and threatens to withhold access to and/or publish victim data

 unless a ransom is paid. Beginning in approximately August 2019, and continuing to

 the present, victims in the United States and around the world, including within the

 Middle District of Florida, have been victimized by ransomware identified as

 “NetWalker.” To date, the ransomware has been deployed on dozens of victims,

 including municipalities, hospitals, law enforcement and emergency services, school

 districts, colleges, and universities. NetWalker is capable of not only encrypting

 victim data and making it inaccessible to the victim, but also stealing victim data. If a

 victim does not pay the ransom, the stolen data is often published. To date,

 NetWalker attacks have resulted in the payment of millions of dollars in ransoms.

 Due to the global scale of these crimes, multiple domestic and foreign law

 enforcement agencies are conducting parallel investigations of the actors responsible

 for NetWalker.

        22.    NetWalker uses a ransomware-as-a-service model, featuring developers

 and affiliates (collectively, the “NetWalker Actors”). Developers are responsible for

 creating and updating the ransomware, and making it available to affiliates. Affiliates




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 are responsible for identifying and attacking high-value victims with the ransomware.

 After a victim pays, developers and affiliates split the ransom.

       23.    Once a victim’s computer network is compromised and the data is

 encrypted, the NetWalker Actors deliver a file, or ransom note, to the victim. Below,

 a representative ransom note has been recreated in part:

              Hi! Your files are encrypted by Netwalker . . . If for some
              reason you read this text before the encryption ended, this
              can be understood by the fact that the computer slows
              down, and your heart rate has increased due to the ability
              to turn it off, then we recommend that you move away
              from the computer and accept that you have been
              compromised. Rebooting/shutdown will cause you to lose
              files without the possibility of recovery . . . Our encryption
              algorithms are very strong and your files are very well
              protected, the only way to get your files back is to
              cooperate with us and get the decrypter program. Do not
              try to recover your files without a decrypter program, you
              may damage them and then they will be impossible to
              recover. For us this is just business.

       24.    The ransom note also provides the victim with a unique code and the

 URL to the NetWalker Actors’s Tor website.2 After entering the code on the website,

 the NetWalker Actors provide the victim with the amount of ransom demanded and

 instructions for payment. The NetWalker Actors and victim can communicate

 directly with one another on the Tor website.




 2
  The Onion Router (“Tor”) is a network of computers distributed around the world
 designed to conceal the true IP addresses of the network’s users. The Tor network
 also enables websites to operate in a manner that conceals the true IP address of the
 server hosting the website.

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        25.    The NetWalker Actors commonly gain unauthorized access to a

  victim’s computer network days or weeks prior to the delivery of the ransom note.

  During this time, the NetWalker Actors surreptitiously elevate their privileges within

  the network while spreading the ransomware from workstation to workstation. The

  NetWalker Actors send the ransom note only once they are satisfied that they have

  sufficiently infiltrated the victim’s network to extort payment.

        26.    In or about May 2020, the NetWalker ransomware was deployed on a

  U.S. based company (“Victim Company A”). Victim Company A was only able to

  regain access to its critical data after paying 37.58 bitcoin in ransom, or

  approximately $353,900.46 on the date of transfer. On May 30, 2020, at 20:15,

  Coordinated Universal Time (UTC), Victim Company A paid the 37.58 bitcoin

  ransom to a single bitcoin wallet. Analysis of the bitcoin blockchain indicates that

  approximately 30 minutes later, at 20:44 UTC, this bitcoin wallet sent the entirety of

  those funds to four bitcoin addresses, including “Merge E” and “Wallet A”, in a

  single transaction. Specifically, 30.07 bitcoin was sent to the group of addresses

  identified as “Merge E” on Exhibit 1, and 1.88 bitcoin was sent to the address

  identified as “Wallet A” on Exhibit 1. Based on change address analysis and co-

  spending, investigators believe that the addresses located at Merge E are controlled

  by the same owners. Investigators were unable to determine if the two addresses

  receiving the small, remaining balance of the ransom funds were controlled by the

  same owners.



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        27.    In or about June 2020, the NetWalker ransomware was deployed on a

  second U.S. based company (“Victim Company B”). Victim Company B was only

  able to regain access to its critical data after paying 106.168 bitcoin in ransom, or

  approximately $999,094.54 on the date of transfer. On June 2, 2020, at 21:23 UTC,

  Victim Company B paid the 106.168 bitcoin ransom to a single bitcoin wallet.

  Analysis of the bitcoin blockchain indicates that approximately 30 minutes later, at

  21:53 UTC, this bitcoin wallet sent the entirety of those funds to four bitcoin

  addresses, including Merge E and Wallet A, in a single transaction. Specifically,

  89.18 bitcoin was sent to Merge E, and 4.25 bitcoin was sent to Wallet A.

  Investigators were unable to determine if the two addresses receiving the small,

  remaining balance of the ransom funds were controlled by the same owners.

        28.    In or about June 2020, the NetWalker ransomware was also deployed

  on a third U.S. based company (“Victim Company C”). Victim Company C was

  only able to regain access to its critical data after paying 303.651 bitcoin in ransom,

  or approximately $2,860,432.30 on the date of transfer. On June 8, 2020, at 17:27

  UTC, Victim Company C paid the 303.651 bitcoin ransom to a single bitcoin wallet.

  Analysis of the bitcoin blockchain indicates that approximately 30 minutes later, at

  17:53 UTC, this bitcoin wallet sent the entirety of those funds to four bitcoin

  addresses, including Merge E and Wallet A, in a single transaction. Specifically,

  255.07 bitcoin was sent to Merge E, and 12.15 bitcoin was sent to Wallet A. Once

  again, investigators were unable to determine if the two addresses receiving the

  small, remaining balance of the ransom funds were controlled by the same owners.

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        29.    As described below, from June 6 to 22, 2020, Merge E and Wallet A

  engaged in a series of rapid transfers that are consistent with efforts taken to conceal

  the nature and source of the illicit funds. On June 6, 2020, at 11:59 UTC, Merge E

  sent two transactions totaling 29.48 bitcoin to a group of addresses identified as

  “Merge F” on Exhibit 1. Based on change address analysis and co-spending,

  investigators believe that the addresses located at Merge F are controlled by the same

  owners. Approximately four hours later, at 14:03 UTC, Merge F sent two

  transactions totaling 8.89 bitcoin to a group of bitcoin addresses identified as “Merge

  G” on Exhibit 1. Again, based on change address analysis and co-spending,

  investigators believe that Merge G is controlled by the same owners.

        30.    Similarly, on June 11, 2020, at 07:19 UTC, Wallet A sent seven bitcoin

  to a single address identified as “Wallet B” on Exhibit 1. Approximately seven hours

  later, at 14:57 UTC, Wallet B sent 4.7 bitcoin to a single address identified as

  “Wallet C” on Exhibit 1. On June 22, 2020, at 13:59 UTC, Wallet C sent 1.66

  bitcoin to a single address identified as “Wallet D” on Exhibit 1. Approximately ten

  minutes later, at 14:10 UTC, Wallet D sent 1.48 bitcoin to Merge G.

        31.    As described above, Merge G was the recipient of ransom payments

  made by Victim Company A, Victim Company B, and Victim Company C. From

  June 7-22, 2020, Merge G made three deposits totaling $172,281.22 directly into an

  account at Binance Holdings Limited, bearing User ID 39177039 and associated

  with the email address tanyaglushko99@gmail.com (the Target Binance Account).

  On June 7, 2020, at 10:24 UTC, Merge G sent 8.879 bitcoin to the Target Binance

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  Account. On June 22, 2020, at approximately 15:09 UTC, Merge G sent five bitcoin

  to the Target Binance Account. Minutes later, at 15:15 UTC, Merge G sent an

  additional 4.4 bitcoin to the Target Binance Account. The anonymity provided by

  bitcoin, coupled with the series of rapid transfers following the initial transfer of the

  victim’s ransom payments to the NetWalker payment addresses are consistent with

  efforts taken to conceal the nature and source of the illicit funds.

         32.    Binance records revealed that the Target Binance Account is registered

  to a 20-year-old Ukrainian national named Tetiana Lukianiuk. These records

  indicate that between January 30, 2020, and June 22, 2020, Lukianiuk exchanged the

  majority of bitcoin in the Target Binance Account for Tether. As of June 25, 2020,

  the Target Binance Account held two cryptocurrency assets, bitcoin and Tether,

  valued at approximately $433,271.39.

         33.    Pursuant to a seizure warrant signed on July 10, 2020, by United States

  Magistrate Judge Amanda Arnold Sansone, Case No. 8:20-mj-1668AAS, the

  cryptocurrency remaining in the Target Binance Account, valued at approximately

  $454,530.19, was transferred to a wallet owned and controlled by the FBI.




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                                        VERIFICATION

            Pursuant to 28 U.S.c. § 1746, I, Daniel M. Sirmons, declare under penalty of

     peIjury that:

            I am a Special Agent with the Federal Bureau ofInvestigation. I have read the

     foregoing Verified Complaint for Forfeiture in Rem and have personal knowledge

     that the matters alleged as fact in the Complaint are true.

            I have acquired my knowledge in this matter through my personal experience,

     observation, investigation, and training, and from witnesses, records, and other Jaw

     enforcement officers.



            Executed this ___L1 day of February, 2021.




                                              Daniel M. Sirmons, Special Agent
                                              Federal Bureau of Investigation




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